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e§iAO 245B (Rev, 06/05) Judgment in a Criminal Case

 

 

 

 

Sheet 1
UNlTED STATES DISTRICT CoURT
Eastern District of Pennsvlvania
UNlTED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
V.
COLLEEN R. LAROSE
a/k/a Fatima LaROSe Case Number: DPAE2:10CR000123-001
a/k/a JihadJa“e USM Number: 61657-066
Mark Wilson and Rossman Thompson, Esqs.
Defendant’s Attomey
THE DEFENDANT:

X pleaded guilty to count(s) 1-4 of the superseding indictment.

 

l:l pleaded nolo contendere to count(s)

 

which was accepted by the court.

|:l was found guilty on count(s)

 

after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section Nature of Offense Offense Ended Count
18:2339A Conspiracy to provide material support to terrorists. 3-9-2010 1
18:956(3) Conspiracy to kill in a foreign country. 10-15-2009 2
18:1001 False statements to government officials. 7-17-2009 3
18:1028(3)(2),(b)(4),(f) Attempted identity theft. 10-15-2009 4

The defendant is sentenced as provided in pages 2 through 6 of this judgment The sentence is imposed pursuant to

the Sentencing Reforrn Act of 1984.
\:] The defendant has been found not guilty on count(s)

 

I:| Count(s) [:| is l:l are dismissed on the motion of the United States.

 

_ _ It is ordered t_hat the defendant_must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until_ all fines, restitution,_costs, and special assessments imposed l_)y this judgment are fu ly paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances

Januarv 6. 2014

Date of Imposition of Judgment

Signature of Judge

Petrese B. Tucker. United States District Court Chief Judge
Name and Title of Judge

%d/rW//A'/ 6 , £0/ 4¢
Date f / /

 

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AO 2458 (Rev. 06/05) Judgment in Criminal Case
Sheet 2 _ Imprisonment

Judgment ~ Page 2 of
DEFENDANT: Colleen R. LaRose
CASE NUMBER: DPAE2:10CR000123-001

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:

10 years. The sentence consist of 10 years on each of counts 1,2 and 4 & 8 years on count 3. All counts are to run
concurrently.

XThe court makes the following recommendations to the Bureau of` Prisons:

1. That the defendant be placed in a prison near Fort Worth Texas or Eastern District of Pa. area.
2. That the defendant receive mental health treatment.

l:lThe defendant is remanded to the custody of the United States Marshal.

l:lThe defendant shall surrender to the United States Marshal for this district:
l:] at |:l a.m. l:l p.m. on
l:l as notified by the United States Marshal.

 

l:lThe defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

m before 2 p.m. on

 

l:l as notified by the United States Marshal.

l:l as notified by the Probation or Pretrial Services Office.

 

 

 

RETURN
I have executed this judgment as follows:
Defendant delivered on to
at , with a certified copy of this judgment
UNlTED STATES MARSHAL
By

 

DEPUTY UNlTED STATES MARSHAL

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AO 245B (Rev. 06/05) Judgment in a Criminal Case
Sheet 3 _ Supervised Release

Judgment_Page 4 of _L____
DEFENDANT: Colleen R. LaRose
CASE NUMBER: DPAE2:10CR000123-001

SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :

5 years. The sentence consist of a term of 5 years on each of counts 2 and 4 & a term of 3 years on each of counts l and 3. All counts
are to run concurrently.

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance The defendant shall refrain from any unlawful use of a controlled
substance The defendant shall submit to orie drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
[_'_] The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
future substance abuse. (Check, if applicable.)
I:l The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
\:l The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
l:l The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
student, as directed by the probation officer. (Check, if applicable.)
lj The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this `udgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule o Payments sheet of this judgment

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

STANDARD CONDITIONS OF SUPERVISION

l) the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the l§lef`end}altnt shall report to the probation officer and shall submit a truthfi,il and complete written report within the first five days of
eac mont ;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4) the defendant shall support his or her dependents and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
acceptable reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
felony, unless granted permission to do so by the pro ation officer;

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
contraband observed in plain view of the probation officer;

ll) the defendant shall notify the probation officer within seventy-two hours of being arrested by a law enforcement officer;

12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
permission of the court; and

13) as directed by the probation officer, the defendant shall notify_third parties _of risks that may be occasioned by the defendant’s criminal
record or ersona history_ or characteristics and shall permit the probation officer to make such notifications and to confirm the
defendant s compliance with such notification requirement

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AO 2458 (Rev. 06/05) Judgment in a Criminal Case
Sheet 3A _ Supervised Release

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DEFENDANT: Colleen R. LaRose
CASE NUMBER: DPAE2:10CR000123-001

ADDITIONAL SUPERVISED RELEASE TERMS

The defendant shall articipate in a mental health program for evaluation and/or treatment
and abide by the ru es of any such program until satisfactorily discharged.

The defendant shall abide by the standard conditions of computer monitorin .

The defendant shall cooperate in the collection of DNA as directed b the pro ation officer.
Th¢(:l defendant shall refrain from illegal use of drugs and shall submit to testing if directed
to o so.

The defendant shall cooperate in the collection of DNA as directed by the probation officer.

S":“!*’.Nl"

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Sheet 5 - Criminal Monetary Penalties

Judgment _ Page § of §
DEFENDANT: Colleen R. LaRose
CASE NUMBER: DPAE2:10CR000123-001

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Fine Restitution
TOTALS S 400. $ 2,500. $

i:| The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C) will be entered
after such determination '

|:l The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximatelyjpro ortioned ayment, unless specified otherwise in
the priority order or percentage payment column elow. However, pursuant to 18 .S. . § 3664 1), all nonfederal victims must be paid
before the United States is paid.

Name of Payee Total Loss* Restitution Ordered Priority or Percentage

TOTALS $ 0 $ 0

Restitution amount ordered pursuant to plea agreement $

|:] The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

X The court determined that the defendant does not have the ability to pay interest and it is ordered that:
X the interest requirement is waived for the X fine [:l restitution.

[| the interest requirement for the [:| fine [:| restitution is modified as follows:

* F indings for the total amount of losses are required under Chapters 109A, l 10, 1 10A, and 1 13A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.

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Sheet 6 _ Schedule of Payments

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DEFENDANT: Colleen R. LaRose
CASE NUMBER: DPAE2:10CR000123-001

SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:
A |:| Lump sum payment of $ due immediately, balance due

[] not later than ,or
['_'] in accordance [:| C, l:l D, |:] E, or [] Fbelow; or

B X Payment to begin immediately (may be combined with [:| C, [:] D, or X F below); or

C [] Payment in equal (e.g., Weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or

D [:| Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a

term of supervision; or

E |:| Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
imprisonment, The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F X Special instructions regarding the payment of criminal monetary penalties:

lt is recommended that the defendant participate in the Bureau of Prisons Inmate Financial Responsibility Program
and provide a minimum payment of $25.00 per quarter towards the fine. In the event the fine is not aid prior to the
pommenctement of supervision, the defendant shall make monthly payments of $50.00, to commence 0 days after release
rom con inement.

Unle_ss the court has expressl ordered otherwise, if this judgment imposes imprisonment, lpayment of criminal monetary penalties is due durin
imprisonment, All crimina moneta penalties, except those payments made throug the Federal Bureau of Prisons’ Inmate Financia
Responsibility Program, are made to t e clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

l:| Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate

[] The defendant shall pay the cost of prosecution
l:l The defendant shall pay the following court cost(s):

ij The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (1? assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) pena ties, and (8) costs, including cost of prosecution and court costs.

